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      Attorney for Defendant, ADAM KHAMVONGSAY
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                                UNITED STATES DISTRICT COURT
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11                            EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                ) CASE NO.1:11-CR-00303 AWI
                                              )
15                                            ) STIPULATION AND
           Plaintiff,
                                              )
16   vs.                                      ) ORDER TO CONTINUE SENTENCING
                                              ) DATE: December 9, 2013
17                                            ) TIME:   10:00 am
     ADAM KHAMVONGSAY,                        ) JUDGE: Hon. Anthony W. Ishii
                                              )
18               Defendant.                   )
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           IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel RICHARD A. BESHWATE, JR, attorney for Defendant, and Assistant U.S. Attorney
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     Case 1:11-cr-00303-DAD-BAM Document 66 Filed 12/05/13 Page 2 of 3




     LAUREL MONTOYA, Attorney for Plaintiff, that the hearing currently scheduled for December 9,
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     2013, at 10:00 a.m. shall be continued until DECEMBER 16, 2013, at 10:00 a.m. or to a date the Court
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     deems appropriate.
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9           This continuance is necessary so that defendant=s attorney and the AUSA can have sufficient

10   time to conclude the necessary steps to qualify Mr. Khamvongsay for the Safety Valve.

11          The parties stipulate that the time until the next hearing should be excluded from the

12   calculation of time under the Speedy Trial Act. The parties stipulate that the ends of justice are

13   served by the Court excluding such time, so that counsel for the defendant may have reasonable time

14   necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. '

15   3161(h)(7)(B)(iv).   Specifically, defendant=s counsel has been unavailable due his presence in

16   another trial. The parties stipulate and agree that the interests of justice served by granting this

17   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. '
18   3161(h)(7)(A).
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     DATED: December 3, 2013
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                                                  Respectfully submitted,
                                                  /S/ Richard A. Beshwate, Jr.____________
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                                                  RICHARD A. BESHWATE, JR.
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                                                  Attorney for Defendant, ADAM KHAMVONGSAY

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     Case 1:11-cr-00303-DAD-BAM Document 66 Filed 12/05/13 Page 3 of 3
     DATED: December 4, 2013
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                                            Respectfully submitted,
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                                            /S/                  Laurel               Montoya
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                                            LAUREL MONTOYA
4                                           Assistant U.S. Attorney

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                                             ORDER
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            IT IS HEREBY ORDERED THAT the date set for hearing be continued to January 6, 2014
7    at 10:00 a.m.

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     IT IS SO ORDERED.
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     Dated:    December 4, 2013
10                                             SENIOR DISTRICT JUDGE

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